 Case 3:25-cv-00096        Document 1        Filed 02/17/25     Page 1 of 11 PageID #: 1




                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               At Huntington

JOHN CHARLES FRANK,

         Plaintiff,

v.                                             Civil Action No. _3:25-cv-00096_

CITY OF HUNTINGTON, WEST VIRGINIA, A West Virginia county government;
HUNTINGTON POLICE CHIEF PHIL WATKINS, individually and in his official
capacity;
JOHN DOE OFFICER I, individually and in his official capacity;
JOHN DOE OFFICER II, individually and in his official capacity;
JOHN DOE OFFICERS III-X, individually and in their official capacities;

         Defendants.

                                       COMPLAINT

       This is an action to redress the deprivation of Plaintiff’s rights, privileges and

immunities protected by the Constitution and Laws of the United States of America,

particularly, but not limited to, the Fourth, Eighth, Ninth and Fourteenth Amendments of the

United States Constitution, pursuant to 42 USC §1983, and otherwise. Plaintiff John Charles

Frank, for his Complaint against the Defendants, states as follows:

                          I.      JURISDICTION AND VENUE

1.       Jurisdiction of this Court is invoked under 28 U.S.C. §§1343, et. seq. This action at

law for money damages arises under 42 U.S.C. §§1983, 1988, the United States Constitution,

the laws and Constitution of West Virginia and common law principles to redress a

deprivation under color of state law of rights, privileges and immunities secured to Plaintiff

by said statutes and by the Fourth, Fifth and Fourteenth Amendments of the United States

Constitution. This Court has jurisdiction over Plaintiff’s claims for violations of his federal

constitutional rights pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1343(a)(3).
 Case 3:25-cv-00096         Document 1        Filed 02/17/25      Page 2 of 11 PageID #: 2




2.       This Court has supplemental jurisdiction over Plaintiff’s State of West Virginia law

claims pursuant to 28 U.S.C. §1367(a) as these claims arise out of the same set of facts as the

federal claims such that all claims form part of the same case or controversy.

3.       Venue lies in this District pursuant to 28 U.S.C. §1391(e) because a substantial part

of the events giving rise to the claim occurred in Cabell County, West Virginia, which is

located in the Southern District of West Virginia.

                                       II.     PARTIES

4.       Plaintiff, John Charles Frank, was at the times relevant to this Complaint a resident

of Cabell County, West Virginia. and subject to the unlawful actions of the Defendants.

5.       Defendant City of Huntington, West Virginia (“City”) is a political subdivision

established by the laws of West Virginia. Pursuant to State of West Virginia law, the City

created a police force, the Huntington Police Department (“HPD”). HPD is subject to the

authority, control and discipline of its administrative authority, the City of Huntington. The

City is a “person” as that term is defined in 42 U.S.C. §1983.

6.       Defendant Phil Watkins (“Watkins’) is the duly appointed police chief employed by

City. He is a “person” within the meaning of 42 U.S.C. §1983 and at all relevant times was

acting under color of state law. He is sued in both his individual and official capacities.

7.       Defendant John Doe I is an officer and is employed by City and HPD. He is a

“person” within the meaning of 42 U.S.C. §1983 and at all relevant times was acting under

color of state law. He is sued in both his individual and official capacities.

8.       Defendant John Doe II is an officer and is employed by City and HPD. He is a

“person” within the meaning of 42 U.S.C. §1983 and at all relevant times was acting under

color of state law. He is sued in both his individual and official capacities.




                                                2
 Case 3:25-cv-00096         Document 1        Filed 02/17/25      Page 3 of 11 PageID #: 3




9.       Defendant John Doe Officers III-X are officers of City and HPD. They are “persons”

within the meaning of 42 U.S.C. §1983 and at all relevant times were acting under color of

state law. They are sued in both their individual and official capacities.

                                        III     FACTS

10.      On or about August 23, 2023, at approximately 6:00 PM, Plaintiff was walking on

the sidewalk heading East on 1st Street and 7th Avenue in Huntington, Cabell County, West

Virginia when he observed a Huntington Police Department (HPD) cruiser pass him and circle

back wherein the cruiser parked his vehicle alongside Plaintiff. The HPD officer, Defendant

John Doe I, exited his cruiser and approached Plaintiff in a physically aggressive manner.

Plaintiff was asked to put his hands behind his back, complied and was immediately

handcuffed without even a semblance of resistance.

11.      Immediately upon being handcuffed Plaintiff was struck directly in the nose by the

Kevlar-gloved fist of Defendant John Doe I, immediately fracturing Plaintiff’s nose.

Defendant John Doe I then struck Plaintiff in the mouth resulting in Plaintiff losing

approximately ten (10) teeth and swallowing eight (8) teeth. Plaintiff continued being struck

by Defendant John Doe I while restrained in the back of the HPD cruiser resulting in a broken

orbital bone, lacerated lip, and multiple serious and severe facial contusions. During this

ferocious beating of Plaintiff, Defendant John Doe I had the audacity and callousness to spit

in Plaintiff’s face and threaten him with death.

12.      During Plaintiff’s transport to Cabell Huntington Hospital he was not fastened with

a seatbelt and Defendant John Doe I continuously quickly accelerated and decelerated to

intentionally inflict more harm on the fully cooperative and restrained Plaintiff by bouncing

him off the cage, windows, doors and floor in the back of the cruiser.




                                               3
 Case 3:25-cv-00096         Document 1        Filed 02/17/25      Page 4 of 11 PageID #: 4




13.      Upon arrival at Cabell Huntington Hospital, Plaintiff was uncuffed, thrown out of

the HPD cruiser whilst still in traffic and was threatened that “he better come up with

something good” to tell the medical staff. While holding his face together with his hands,

Plaintiff ran to the Cabell Huntington Emergency Room where he informed attending medical

staff he was beaten by a HPD officer. Shortly thereafter, Defendant John Doe I entered the

Cabell Huntington Emergency Room and informed the attending staff Plaintiff was in some

sort of ATV or vehicular accident and Plaintiff pulled a knife on the officer. Defendant John

Doe I also informed attending staff Plaintiff was so high on drugs he was unresponsive to a

Taser and pulled of its barbs and ran away from the police. Cabell Huntington Hospital refused

to treat Plaintiff. None of these events transpired and Defendant John Doe I put forth in motion

a cover-up story to protect himself from possible criminal and/or civil liability.

14.      Plaintiff was then transferred to HPD Headquarters where he was kicked and beaten

by another unknown HPD officer, Defendant John Doe II. Plaintiff spent approximately one

and a half (1.5) to three (3) hours at HPD Headquarters being berated, humiliated and further

beaten by Defendants John Does I and II until being transported to St. Mary’s Hospital where

Plaintiff was treated for all of his injuries inflicted on him by Defendants John Does I and II.

Defendants John Does I and II continuously and consistently threatened Plaintiff informing

him they had family members at Western Regional Jail that would kill him if he said anything

about the incidents addressed in this Complaint. Due to the valid and legitimate threats lodged

by Defendants John Does I and II, Plaintiff was too afraid for his life and did not inform the

staff at St. Mary’s Hospital when Defendants John Does I and II were present. Plaintiff was

then transported to the Western Regional Jail after receiving numerous stiches, having his

nose set, receiving various x-rays, and other medical treatment. It is undisputed St. Mary’s




                                               4
 Case 3:25-cv-00096         Document 1        Filed 02/17/25     Page 5 of 11 PageID #: 5




Hospital staff found no burn marks or barb marks from a Taser on Plaintiff’s body nor were

any injuries consistent with an ATV or automobile accident.

                                  IV.      ALLEGATIONS

                                             COUNT I
                                   CIVIL RIGHTS VIOLATION
                                 (Excessive Force– 42 U.S.C. §1983)

15.       Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this Complaint and by this reference incorporates the same herein and make

each a part hereof.

16.       The degree of force actually used against Plaintiff was objectively unreasonable,

excessive and unwarranted and violated the Plaintiff’s clearly established right to be free from

excessive force when the person had already surrendered, which a reasonable police officer

should have known pursuant to the Fourth and Fourteenth Amendments of the United States

Constitution and the Constitution of West Virginia.

17.       The Defendant officers’ actions/inactions were willful, wanton, intentional,

malicious and done with callous or reckless disregard for Plaintiff’s safety and constitutional

rights.

18.       The Defendant officers’ actions/inactions were the direct and proximate cause of the

injuries and constitutional violations of which Plaintiff complains.

                                        COUNT II
                               CIVIL RIGHTS VIOLATION
                  (Failure to Provide Timely Medical Care– 42 U.S.C. §1983)

19.       Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this Complaint, and by this reference incorporates the same herein and make

each a part hereof.




                                               5
 Case 3:25-cv-00096          Document 1        Filed 02/17/25      Page 6 of 11 PageID #: 6




20.      Defendants John Doe I and II committed excessive force against Plaintiff which

caused severe physical wounds. However, rather than providing first aid to stop the bleeding

and materials to protect the wound and timely transport Plaintiff to a medical facility,

Defendants John Doe I and II failed to do so ninety (90) minutes to three (3) hours.

21.      Defendants John Doe I and II knew Plaintiff was severely injured based upon

his/their own actions, observations, remarks made and Plaintiff’s complaints and requests.

22.      Despite Plaintiff’s severe injuries, Defendants John Doe I and II did not provide or

ensure Plaintiff was immediately transported for emergency medical services.

23.      Defendants John Doe I and II did not provide medical treatment or timely transport

Plaintiff for emergency medical services even though Plaintiff’s condition was of such that he

required immediate medical treatment and needed to be transported to the hospital.

24.      Defendants John Doe I and II did not immediately provide or transport Plaintiff for

emergency medical services in order to wantonly and intentionally cause him further

unnecessary pain and suffering and emotional distress.

25.      Defendants John Doe I’s and II’s and possibly other John Doe Defendant officers’

actions and/or inactions were willful, wanton, intentional, malicious and done with callous or

reckless disregard for Plaintiff’s safety, care and constitutional rights.

26.      Defendants John Doe I’s and II’s and possibly other John Doe Defendant officers’

actions and/or inactions were the direct and proximate cause of furtherance of Plaintiff’s

injuries and constitutional violations of which Plaintiff complains.




                                                6
 Case 3:25-cv-00096        Document 1        Filed 02/17/25     Page 7 of 11 PageID #: 7




                                     COUNT III
                                MUNICIPAL LIABILITY

27.      Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this Complaint, and by this reference incorporates the same herein and make

each a part hereof.

28.      The above-described deprivation of Plaintiff’s constitutional rights were caused by

implementation of customs, policies, or official acts of Defendants City and Watkins; to wit,

among other things: Negligently hiring Defendant officers, permitting police officers to

engage in law enforcement contacts without supervision, failure to adequately train, supervise

and discipline its police officers regarding lawful detention, the proper use of force, and the

failure to adequately train, supervise and discipline its police officers regarding the

requirement to provide immediate medical assistance to injured arrestees/detainees as well as

negligently retaining officers previously accused of excessive force.

29.      Defendants City and Watkins, by these acts and omissions, have exhibited deliberate

indifference to the unreasonable risk of the unlawful deprivation of citizens’ constitutional

rights and safety which its customs and policies pose.

30.      Defendants City’s and Watkins’s customs and policies violate the Fourth, Fifth and

Fourteenth Amendments to the United States Constitution and its West Virginia counterparts.

31.      The customs, practices and policies of Defendants City and Watkins were the direct

and proximate cause of the injuries and constitutional violations of which Plaintiff complains.




                                              7
 Case 3:25-cv-00096         Document 1        Filed 02/17/25      Page 8 of 11 PageID #: 8




                                   COUNT IV
                        WEST VIRGINIA STATE LAW CLAIMS

32.      Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this complaint, and by this reference incorporates the same herein and make

each a part hereof.

33.      State law and common law claims and causes of action are asserted by Plaintiff are

alleged against all Defendants as follows:

         (a)     Tort of harassment;
         (b)     Tort of unwelcome touching of his/their person, specifically, on occasions
the individual Defendants perpetrated the same;
         (c)     Tort of civil battery;
         (d)     Tort of civil assault;
         (e)     Tort of intentional infliction of emotional distress/tort of outrage;
         (f)     Tort of outrageous and atrocious conduct;
         (g)     Tort of invasion of his right to privacy;
         (h)     Tort of civil conspiracy;
         (i)     other statutory and common law causes of action, including but not limited
to, common law negligence against all Defendants, if applicable.

34.      The above-described actions constitute the following State West Virginia law claims

against Defendant City, Defendant Watkins and possibly Defendants John Does III-X:

         A.      Negligent Hiring
         B.      Negligent Retention
         C.      Negligent Supervision
         D.      Negligence
         E.      Civil Conspiracy
         F.      Outrage/Intentional Infliction of Emotional Distress

35.      Defendants had duties through State of West Virginia laws – statutory and common

laws - breached said duties and were the proximate and direct cause of Plaintiff’s damages.




                                                8
 Case 3:25-cv-00096         Document 1        Filed 02/17/25      Page 9 of 11 PageID #: 9




                      V. PUNITIVE and EXEMPLARY DAMAGES

36.      Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this Complaint and by this reference incorporate the same herein and make each

a part hereof.

37.      The conduct of all Defendants was so egregious, malicious and atrocious that

Plaintiff requests and deserves punitive and exemplary damages. These damages are to

punished the conduct addressed above and to deter such conduct in the future and relay

consequences thereof. To that end, Plaintiff requests these punitive and exemplary damages

in a sum which is within the jurisdictional limits of this Court for each Defendant.

                                        VI. DAMAGES

38.      Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this Complaint and by this reference incorporate the same herein and make each

a part hereof.

39.      Defendants’ individual and collective actions and/or inactions were a proximate

cause of the following injuries suffered by Plaintiff:

         (a)     Actual damages;
         (b)     Punitive and exemplary damages;
         (c)     Loss of affection, consortium, comfort, financial assistance, protection,
affection and care;
         (d)     Pain, suffering and mental anguish suffered by Plaintiff;
         (e)     Mental anguish and emotional distress suffered by Plaintiff;
         (f)     Loss of quality of life suffered by Plaintiff;
         (g)     Loss of service;
         (h)     Loss of future earnings, benefits and wages;
         (i)     Past, present and future medical and dental care and expenses as well as
expenses associated with mental health counseling and/or medications;



                                                9
Case 3:25-cv-00096         Document 1        Filed 02/17/25      Page 10 of 11 PageID #: 10




         (j)     Pursuant to 42 U.S.C. §1988 and other applicable laws, Plaintiff and
Plaintiff’s counsel are entitled to reasonable attorney fees, costs and expenses for preparation
and prosecution of this civil matter including for its appeal, if applicable.
         (k)     Pre-judgment and post-judgment interest;
         (l)     Any other damages this Court and/or the jury decide is just and fair.

                           VII. COSTS AND ATTORNEY FEES

40.      Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this Complaint and by this reference incorporate the same herein and make each

a part hereof.

41.      As stated above, Plaintiff and his counsel are entitled to attorney fees, costs and

expenses in prosecuting this civil matter pursuant to 42 U.S.C. §1988(b). As such, Plaintiff

respectfully requests the Court award the same.

                         VIII. JOINT AND SEVERAL LIABILITY

42.      Plaintiff refers to and re-pleads each and every allegation contained in the preceding

paragraphs of this Complaint and by this reference incorporate the same herein and make each

a part hereof.

43.      Plaintiff would show the Defendants were jointly and severally liable for the gross

negligence and intentional acts which were the proximate causes of Plaintiff’s injuries.

                               IX.     PRAYER FOR RELIEF

       WHEREFORE, based upon the above stated facts, Plaintiff John Charles Frank

requests judgment against the Defendants in an amount that will fully and fairly compensate

Plaintiff for his injuries including medical expenses, pain and suffering, loss of enjoyment of

life, annoyance, aggravation, psychological distress and any other compensatory damages to

be proved at trial. Plaintiff further requests reasonable attorney fees and costs, all other



                                               10
Case 3:25-cv-00096        Document 1       Filed 02/17/25     Page 11 of 11 PageID #: 11




damages provided by law and any other relief this Court deems just and fair. Plaintiff further

requests punitive damages against the Defendant officers and individual Defendants.

                       PLAINTIFF DEMANDS A JURY TRIAL.

                                              JOHN CHARLES FRANK
                                              By Counsel

s/ Kerry A. Nessel__________
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                                             11
